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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

LAUREN ADELE OLIVER,
an individual,

       Plaintiff,

v.                                                         Case No. 1:20-CV-00237-KK-SCY

MEOW WOLF, INC., a Delaware
corporation; VINCE KADLUBEK,
an individual and officer; and
DOES 1-50,

       Defendants.

                         STIPULATION TO HOLD PLAINTIFF’S
                         MOTION TO COMPEL IN ABEYANCE

       The parties, through undersigned counsel, hereby stipulate that Plaintiff’s Motion to

Compel (ECF 122) shall be held in abeyance while the parties jointly work to resolve the matter.

Should an impasse develop, Plaintiff will file a Notice that this stipulation has expired, and

Defendants’ deadline to respond to the motion to compel shall be seven (7) days from the date of

that Notice.


                                                   Respectfully submitted,

                                                   FREEDMAN BOYD HOLLANDER
                                                   GOLDBERG URIAS & WARD PA

                                                   By: /s/ Josh B. Ewing______
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                                                   Attorneys for Plaintiff Lauren Adele Oliver
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Approved by:

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and Vince Kadlubeck
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 24th day of May, 2021, a true and correct copy of the foregoing
document was served via CM/ECF on all interested parties. I further certify that I mailed the
foregoing document and the notice of electronic filing by first-class mail to the following non-
CM/ECF participants: N/A.


                                                             /s/ Josh B. Ewing
                                                             Josh B. Ewing
